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                     EXHIBIT B
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                        IN THE THIRTY-FIRST JUDICIAL DISTRICT
                     DISTRICT COURT OF NEOSHO COUNTY, KANSAS
                                  CIVIL DEPARTMENT

DOROTHY BLOOD, et al.,                            )
individually and on behalf of                     )
all others similarly situated,                    )
                                                  )
       Plaintiffs,                                )       Case No. NOC-2022-CV-000020
                                                  )
v.                                                )
                                                  )
LABETTE HEALTH,                                   )
                                                  )
       Defendant.                                 )

                      NOTICE OF FILING OF NOTICE OF REMOVAL

       PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1332, 1441, 1446, and 1453,

Defendant Labette County Medical Center d/b/a Labette Health (“Labette”) hereby gives notice

that it removed Plaintiffs’ Complaint to the United States District Court for the District of Kansas.

A copy of the Notice of Removal filed with the federal court is attached hereto as Exhibit 1. In

addition, Labette served the Notice of Removal upon the Plaintiff.

       Federal law requires that this Court “proceed no further unless and until the case is

remanded.” 28 U.S.C. § 1446(d).

 Dated: June 28, 2022                          SPENCER FANE LLP

                                               By: /s/ Mark A. Cole
                                                   Mark A. Cole, #25349
                                                   Kyle A. Klucas, #29151
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                                               Attorneys for Defendant Labette Health
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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on the 28th day of June, 2022, a true and correct copy
of the foregoing was filed and served via the Court’s electronic filing system.

                                                  /s/ Mark A. Cole
                                                  Attorneys for Defendant




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                                                                                          OP 3265772.1
